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                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEW JERSEY



    In re:                                                                                Chapter 11

    WEWORK INC., et al.,                                                                  Case No. 23-19865 (JKS)
                                                       1
                                           Debtors.                                       (Jointly Administered)

                                                                                          Ref. Docket No. 100


                                                   MASTER SERVICE LIST
                                                                             2
                                                   (as of November 20, 2023)




   1 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ proposed

   claims and noticing agent at https://dm.epiq11.com/WeWork. The location of Debtor WeWork Inc.’s principal place of
   business is 12 East 49th Street, 3rd Floor, New York, NY 10017; the Debtors’ service address in these chapter 11 cases is
   WeWork Inc. c/o Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd. Beaverton, OR 97005.
   2 The Master Service List in Excel and label formats are available on the Debtors website at https://dm.epiq11.com/WeWork under

   "Case Actions."
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